                    IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF LOUISIANA

DENISE A. BADGEROW,       * CIVIL ACTION NO. 2:19-cv-10353
                          *
              Plaintiff,  * JUDGE JAY C. ZAINEY
    v.                    *
                          * MAG. DONNA CURRAULT
GREG WALTERS, THOMAS      *
MEYER, AND RAY TROSCLAIR, *
              Defendants  *
                          *
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                        JOINT STIPULATION OF DISMISSAL

       NOW INTO COURT, through undersigned counsel, come Defendants, Greg

Walter, Thomas Meyer and Ray Trosclair and Plaintiff, Denise A. Badgerow, and

hereby stipulate and move this Court to dismiss the above-captioned matter, with

prejudice.

       The Parties have resolved all claims in controversy between them. As a result,

the parties respectfully request dismissal of this case with prejudice with each party to

bear its own costs and attorney’s fees.




                                                                               NO\347168.v1
    Respectfully submitted:

    BREAZEALE, SACHSE & WILSON, L.L.P.

By: /s/ Eve B. Masinter
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